                       UNITED STATES COURT OF APPEALS
                                  FOR THE
                               SECOND CIRCUIT

        At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
8th day of May, two thousand twenty-five.

Before:     William J. Nardini,
            Steven J. Menashi,
            Eunice C. Lee,
                   Circuit Judges.
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 Monika Kapoor,                                   ORDER

               Petitioner - Appellant,            Docket No. 22-2806

 v.

 Vincent F. DeMarco, United States Marshal
 for the Eastern District of New York, Roberto
 Cordeiro, Chief Pretrial Services Officer for
 the Eastern District of New York,

           Respondents - Appellees.
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         Appellant moves for a stay of the Court’s mandate pending the filing and disposition of a
petition for a writ of certiorari.

          IT IS HEREBY ORDERED that the motion is DENIED.


                                                    For the Court:

                                                    Catherine O’Hagan Wolfe,
                                                    Clerk of Court
